                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN

CITY OF MILWAUKEE,

                             Plaintiff,

              v.                                           Case No. 18CV1066

BIRD RIDES, INC.

                             Defendant.


             SETTLEMENT STATUS CONFERENCE MINUTES
             HONORABLE AARON E. GOODSTEIN, PRESIDING
 DATE:    Wednesday, May 8, 2019
 TIME COMMENCED: 9:30 A.M.                   TIME CONCLUDED: 2:30 P.M.
 APPEARANCES:
 Plaintiff: Deputy City Attorney Adam        Defendant: Clint Johnson and Attorney
 Stephens and Assistant City Attorney Saveon Jonathan Hackbarth
 Grenell


COMMENTS: The parties have reached a settlement resolving this case. The parties will
prepare and execute appropriate settlement documents and anticipate filing a stipulation and
proposed order for dismissal with prejudice within the next two weeks.




         Case 2:18-cv-01066-JPS Filed 05/08/19 Page 1 of 1 Document 34
